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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   4:08CR3148
                                           )
              V.                           )
                                           )                 MEMORANDUM
ANGEL M. KOSKI,                            )                  AND ORDER
                                           )
                     Defendant.            )

        I am in receipt of a forensic report from the Federal Medical Center, Carswell.
Among other things, it concludes that Ms. Koski is competent. However, the United States
Marshal’s Service advises that since Ms. Koski is 28 weeks pregnant, it would be inadvisable
to transport the defendant until she gives birth to her child. Therefore,

       IT IS ORDERED that:

      (1)     The Clerk shall file the attached report under seal and provide copies to
counsel.

        (2)   A competency hearing to be followed by a review of the pending petition
(filing 106) and a discussion regarding progression shall be held on Thursday, August 27,
2009, at 12:00 noon, before the undersigned United States district judge.

       (3)    The United States Marshal’s Service shall advise the undersigned if the
foregoing date becomes a problem. Otherwise, the United States Marshal’s Service shall
transport the defendant at a time convenient to the Marshal’s Service and in time for the
hearing set forth above.

       (4)    On the court’s own motion, the time between today’s date and the hearing is
excluded for purposes of computation under the Speedy Trial Act because the defendant’s
pregnancy and her custodial status precludes a more rapid resolution of the competency
question and the pending petition. 18 U.S.C. § 3161(h)(1)(A) & (h)(7)(A)&(B).
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     DATED this 23rd day of April, 2009.

                                      BY THE COURT:

                                      S/Richard G. Kopf
                                      United States District Judge
